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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
__________________________________________

THE SATANIC TEMPLE, INC.,                 :
               Plaintiff,                 :
                                          :
                  v.                      :                  Civil No. 5:23-cv-01244-JMG
                                          :
SAUCON VALLEY SCHOOL DISTRICT,            :
                  Defendant.              :
__________________________________________


                                             ORDER

       AND NOW, this 27th day of April, 2023, upon consideration of the Motion for Temporary

Restraining Order and/or Preliminary Injunction (ECF No. 19) of Plaintiff, The Satanic Temple,

Inc., the Response in Opposition (ECF No. 27) of Defendant, Saucon Valley School District, and

the testimony and exhibits introduced at the April 20, 2023 oral argument, IT IS HEREBY

ORDERED THAT that the parties shall submit supplemental briefing to the Court by no later

than 12:00 P.M. Friday, April 28, 2023, addressing the following issue:


       Whether Defendant’s purported basis for rescinding approval for Plaintiff to rent District

facilities satisfies the “substantial disruption” test as articulated in Tinker v. Des Moines Indep.

Cmty. Sch. Dist., 393 U.S. 503 (1969) and its progeny. In their briefing, the parties should address

whether the holding in Dariano v. Morgan Hill Unified Sch. Dist., 767 F.3d 764 (9th Cir. 2014) is

applicable to the instant action.


                                                     BY THE COURT:


                                                     _/s/ John M. Gallagher_
                                                     JOHN M. GALLAGHER
                                                     United States District Court Judge
